  Case 6:23-cv-00871-CEM-DCI Document 61-5 Filed 08/08/23 Page 1 of 18 PageID 643




                   Exhibit 5
(September 2021 Polygraph Showing that Dorworth Did
              not Commit Obstruction)
Case 6:23-cv-00871-CEM-DCI Document 61-5 Filed 08/08/23 Page 2 of 18 PageID 644
Case 6:23-cv-00871-CEM-DCI Document 61-5 Filed 08/08/23 Page 3 of 18 PageID 645
Case 6:23-cv-00871-CEM-DCI Document 61-5 Filed 08/08/23 Page 4 of 18 PageID 646
Case 6:23-cv-00871-CEM-DCI Document 61-5 Filed 08/08/23 Page 5 of 18 PageID 647
Case 6:23-cv-00871-CEM-DCI Document 61-5 Filed 08/08/23 Page 6 of 18 PageID 648
Case 6:23-cv-00871-CEM-DCI Document 61-5 Filed 08/08/23 Page 7 of 18 PageID 649
Case 6:23-cv-00871-CEM-DCI Document 61-5 Filed 08/08/23 Page 8 of 18 PageID 650
Case 6:23-cv-00871-CEM-DCI Document 61-5 Filed 08/08/23 Page 9 of 18 PageID 651
Case 6:23-cv-00871-CEM-DCI Document 61-5 Filed 08/08/23 Page 10 of 18 PageID 652
Case 6:23-cv-00871-CEM-DCI Document 61-5 Filed 08/08/23 Page 11 of 18 PageID 653
Case 6:23-cv-00871-CEM-DCI Document 61-5 Filed 08/08/23 Page 12 of 18 PageID 654
Case 6:23-cv-00871-CEM-DCI Document 61-5 Filed 08/08/23 Page 13 of 18 PageID 655
Case 6:23-cv-00871-CEM-DCI Document 61-5 Filed 08/08/23 Page 14 of 18 PageID 656
Case 6:23-cv-00871-CEM-DCI Document 61-5 Filed 08/08/23 Page 15 of 18 PageID 657
Case 6:23-cv-00871-CEM-DCI Document 61-5 Filed 08/08/23 Page 16 of 18 PageID 658
Case 6:23-cv-00871-CEM-DCI Document 61-5 Filed 08/08/23 Page 17 of 18 PageID 659
Case 6:23-cv-00871-CEM-DCI Document 61-5 Filed 08/08/23 Page 18 of 18 PageID 660
